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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

                                          )
  AMGEN INC. and AMGEN                    )
  MANUFACTURING, LIMITED,                 )
                                          )
                                          )
              Plaintiffs,                 )           C.A. No. 1:15-cv-00839-RGA
                                          )
               v.                         )           DEMAND FOR JURY TRIAL
                                          )
  HOSPIRA, INC.,                          )
                                          )
                                          )
              Defendant.                  )
                                          )


 HOSPIRA’S RESPONSE BRIEF IN OPPOSITION TO AMGEN’S RENEWED MOTION
     FOR JUDGMENT AS A MATTER OF LAW OF INFRINGEMENT OF THE
         ’349 PATENT OR, IN THE ALTERNATIVE, FOR A NEW TRIAL




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        Hospira submits this Opposition to Amgen’s Renewed Motion for Judgment as a Matter

 of Law of Infringement of the ’349 Patent or, in the Alternative, for a New Trial. (D.I. 356.)

 I.     INTRODUCTION

        The issue here is straightforward—Amgen put in “circumstantial evidence” that

 Hospira’s cells are capable of producing EPO at the claimed rates as determined by RIA, and the

 jury simply did not credit it. On the other hand, Hospira presented more than sufficient evidence

 from which a jury could properly conclude that Hospira does not infringe.

        Hospira’s expert Dr. Hamilton, an undisputed expert in RIA who worked with the Nobel-

 Prize winning creator of that assay, explained that the claims specify RIA, that Hospira’s cells

 were not tested using RIA, and that the dot blot assay relied on by Amgen does not prove

 infringement. Amgen did not present any evidence that the dot blot and RIA provide comparable

 results. In contrast, Dr. Hamilton explained the multiple differences between the two tests: (1)

 the dot blot from Hospira’s BLA was run on a crude EPO sample; (2) one cannot rely on the

 specific activity of purified EPO; and (3) the dot blot did not use the same standard or

 antibody/antiserum as the ’349 patent. Amgen’s expert, Dr. McLawhon, confirmed that the dot

 blot was run on a crude EPO sample and that less specific antibodies will potentially react with

 all contents of the crude sample. Dr. Joan Egrie, the Amgen employee who performed the RIA

 for the ’349 patent, testified that it is important to use the same standard when making a

 comparison between assays because the standard sets the potency. Published literature confirms

 that it is necessary to validate each new assay because of the difference in antibody/antiserum.

 The jury was entitled to credit Hospira’s evidence and find noninfringement and there is no basis

 to upset that verdict or grant judgment as a matter of law (“JMOL”) to Amgen.

        There is also no basis to grant a new trial. Amgen’s after-the-fact claim construction

 arguments are not supported by the record. Hospira never argued at trial that Amgen could never


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 prove infringement using dot blot; Hospira simply argued, correctly, that Amgen’s evidence was

 insufficient. Dr. Hamilton spent much of his testimony discussing the weaknesses of the dot blot

 evidence, but he never testified that any “claim construction” precluded it. In its closing

 argument, Hospira correctly noted that the claims specify RIA and that Amgen’s lawyers chose

 those words to define the “deed” of their property, but Amgen did not present any RIA data and

 its dot blot data was not good enough to prove infringement. Just because the jury believed

 Hospira and not Amgen is no basis for a new trial. Amgen’s motion should be denied.

 II.    LEGAL STANDARDS

        A.      Standards For JMOL

        JMOL is appropriate if “the court finds that a reasonable jury would not have a legally

 sufficient evidentiary basis to find for [a] party” on an issue. Fed. R. Civ. P. 50(a)(l). “Entry of

 judgment as a matter of law is a ‘sparingly’ invoked remedy, granted only if, viewing the

 evidence in the light most favorable to the nonmovant and giving it the advantage of every fair

 and reasonable inference, there is insufficient evidence from which a jury reasonably could find

 liability.” Marra v. Phila. Hous. Auth., 497 F.3d 286, 300 (3d Cir. 2007) (citation omitted).

        In assessing the sufficiency of the evidence, the Court must give the nonmovant, “as [the]

 verdict winner, the benefit of all logical inferences that could be drawn from the evidence

 presented, resolve all conflicts in the evidence in his favor and, in general, view the record in the

 light most favorable to him.” Williamson v. Consol. Rail Corp., 926 F.2d 1344, 1348 (3d Cir.

 1991). The Court may “not determine the credibility of the witnesses [nor] substitute its choice

 for that of the jury between conflicting elements in the evidence.” Perkin-Elmer Corp. v.

 Computervision Corp., 732 F.2d 888, 893 (Fed. Cir. 1984). Rather, the Court must determine

 whether the evidence reasonably supports the jury’s verdict. In making that determination,

 “[t]he question is not whether there is literally no evidence supporting the unsuccessful party, but


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 whether there is evidence upon which a reasonable jury could properly have found its verdict.”

 Eshelman v. Agere Sys., Inc., 554 F.3d 426, 433 (3d Cir. 2009) (citing Gomez v. Allegheny

 Health Servs. Inc., 71 F.3d 1079, 1083 (3d Cir. 1995)).

        Where the movant bears the burden of proof, the Third Circuit applies a stricter standard.

 Fireman’s Fund Ins. Co. v. Videfreeze Corp., 540 F.2d 1171, 1177 (3d Cir. 1976). To grant

 JMOL in favor of a party that bears the burden of proof on an issue, the Court “must be able to

 say not only that there is sufficient evidence to support the [movant’s proposed] finding, even

 though other evidence could support as well a contrary finding, but additionally that there is

 insufficient evidence for permitting any different finding.” Id. (citation omitted).

        B.      Standards For New Trial

        Fed. R. Civ. P. 59(a)(l)(A) provides that “[t]he court may, on motion, grant a new trial on

 all or some of the issues . . . for any reason for which a new trial has heretofore been granted in

 an action at law in federal court . . . .” Among the most common reasons for granting a new trial

 are: (1) the jury’s verdict is against the clear weight of the evidence, and a new trial must be

 granted to prevent a miscarriage of justice; (2) newly discovered evidence exists that would

 likely alter the outcome of the trial; (3) improper conduct by an attorney or the court unfairly

 influenced the verdict; or (4) the jury’s verdict was facially inconsistent. See Zarow-Smith v. NJ

 Transit Rail Operations, Inc., 953 F. Supp. 581, 584-85 (D.N.J. 1997).

        The decision to grant a new trial is committed to the sound discretion of the district court.

 Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33, 36 (1980); Olefins Trading, Inc. v. Han Yang

 Chem. Corp., 9 F.3d 282, 289 (3d Cir. 1993). A new trial should only be granted “when the

 record shows that the jury’s verdict resulted in a miscarriage of justice or where the verdict, on

 the record, cries out to be overturned or shocks [the] conscience.” Williamson, 926 F.2d at 1353.




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 III.      AMGEN IS NOT ENTITLED TO JMOL BECAUSE HOSPIRA INTRODUCED
           AMPLE EVIDENCE FOR THE JURY TO FIND NONINFRINGEMENT

           A.     Amgen Did Not Establish That Hospira’s Cells Infringe The ’349 Patent

           Amgen only asserted literal infringement of the ’349 patent. (Pretrial Conf. Tr. at 12:12-

 15, Sept. 8, 2017.) Hospira sought to preclude Amgen from relying on dot blot data to prove

 literal infringement. (D.I. 290, Pretrial Order, Ex. 13, Motion in Limine No. 2.) Amgen opposed

 the motion, arguing that it should be able to use dot blot data as “circumstantial evidence”

 because data from a “comparable” test could satisfy the RIA limitation. (Amgen Opp. at 1-2.)

 Amgen asserted that it would provide evidence that the two tests yield “very similar, if not

 identical” results. (Id. at 3.) The Court denied Hospira’s motion and let Amgen proceed.

           Amgen presented its circumstantial evidence at trial, but the jury did not credit it.

 Amgen’s experts admitted that they did not perform or consider any RIA testing of the accused

 cells. (Trial Tr. 283:5-7; 287:24-288:4; 523:9-11; 537:2-19.) Even accepting Amgen’s position

 that another test could satisfy the RIA limitation, Amgen still needed to show that the accused

 cells were “capable of” achieving the claimed production rates “as determined by

 radioimmunoassay.” (PTX-001, col. 38:8-36). 1 Amgen attempted to prove infringement by

 calculating production rates from the dot blot in Hospira’s BLA, and arguing that Hospira’s cells

 were capable of achieving the rates as determined by RIA. But Amgen never established the

 comparability between dot blot and RIA that it proffered in response to Hospira’s motion.

           No reasonable jury could find that Hospira’s accused cells are “capable of” achieving the

 recited EPO production rates “as determined by radioimmunoassay” based on Amgen’s

 purported calculations. Dr. Wall provided no testimony that RIA and dot blot yield similar

 results. Rather, he testified that he relied on Dr. McLawhon’s opinions regarding RIA. (Trial


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     Trial Exhibits cited herein are included in an Appendix being filed concurrently herewith.


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 Tr. 271:5-22; 275:19-276:23.) Although Dr. McLawhon could have tested Hospira’s EPO using

 an RIA, he did not. (Id., 537:20-538:17.) He relied on the dot blot, but provided no testimony

 about whether dot blot and RIA yield similar results. He testified that the dot blot assay was

 used to determine the rate of EPO production in mass (µg/mL). (Id., 525:8-17.) But he never

 presented any evidence that dot blots produce results similar or comparable to RIA.

        Unlike Dr. Hamilton, Dr. McLawhon never explained how the dot blot works or how it

 compares to an RIA. He simply took the content in mass and converted it to “units” like a

 “currency converter.” (Id., 528:1-529:24.) He admitted that the standard he used for the

 conversion contains “very minute quantities” of “highly purified” EPO. (Id., 530:15-22.) In

 contrast, the EPO in the dot blot reported in Hospira’s BLA comes from a “broth” that has not

 yet been purified and will be subject to a lot more processing before it is given to people. (Id.,

 539:9-540:16.) That broth, called the “supernatant,” has imperfect forms of EPO that never end

 up in Hospira’s final product. (Id., 541:5-542:5.) Dr. McLawhon does not know whether the

 same antibody was used in the standard he used for the conversion and the dot blot, although he

 admits that should be done if one is going to make a comparison and that he would have known

 which antibody was used if he had run the experiment. (Id., 545:3-546:2.)

        Amgen attempts to overcome these holes in its evidence by improperly shifting the

 burden to Hospira. Amgen says that Hospira failed to introduce any affirmative testing that its

 cells could not meet the claimed rates. However, the burden to prove literal infringement rests

 on Amgen and the jury was instructed as such. (Id., 107:15-21; 1545:10-16.) Hospira

 introduced more than sufficient evidence to rebut Amgen’s speculation that the cells infringe.

 Dr. Hamilton provided unrebutted testimony that dot blot and RIA are different assays and that

 dot blot is a semi-quantitative and less accurate assay, which does not prove infringement. (Id.,




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 1193:18-1194:8; 1198:5-12; 1191:5-13.) He also provided several reasons why the two tests do

 not yield similar results. First, the dot blot assay measures production rates in terms of mass and

 not units (“U”), as specified in the claims. (Id., 1193:1-6; 1195:17-21.) Second, the sample

 tested in the dot blot assay was not purified and this can lead to an overestimation of the

 production rate. (Id., 1196:4-1197:7.) Third, the same standard should be used when comparing

 results from two different assays. (Id., at 1197:24-1198:4.) Fourth, the antiserum used in the

 assays must be validated independently to show similarity in results. (Id., 1198:13-1199:18.)

        Dr. Egrie, a former Amgen scientist who conducted the RIA testing on the EPO project,

 confirmed that the same standard should be used when comparing different assays:

                Q:      Okay. So if I had a hundred units in my RIA, but I use one
                reference standard, and you had a hundred units in yours, which
                uses a difference standard, they might not actually contain the
                same amount of EPO, EPO activity; right?

                A: If you wanted to make a comparison, you should use the same
                standard.
                                              ...

                Q: Okay. And why would it be important to use the same reference
                standard in order to be able to make the comparisons?

                A: That's just obvious.

                Q: I'm slow, can you help me why that’s obvious?

                A: Because that is what sets your potency, is your standard.

 (Id., 1163:5-24.) Dr. Lin, the inventor of the ’349 patent, confirmed that Dr. Egrie and her

 research team performed the RIA testing on EPO. (Id., 245:11-24).

        Thus, even if Amgen could theoretically show that Hospira’s cells are “capable of”

 producing the recited number of units “as determined by” RIA, Amgen failed to do so because it

 introduced no evidence that EPO production rates as determined by dot blot are similar to or

 representative of EPO production rates as determined by RIA. Amgen failed to present


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 sufficient evidence from which a reasonable jury could find literal infringement of any of the

 asserted claims of the ’349 patent. In contrast, Hospira presented sufficient evidence from which

 a jury could find noninfringement. Thus, Amgen’s renewed motion for JMOL should be denied.

        B.      A Reasonable Jury Could Find That Hospira Does Not Infringe

        Amgen ignores the weight of the evidence and comes up with three novel and incorrect

 arguments in its JMOL motions. First, Amgen says that Hospira “admitted” its production rate

 in materials submitted to FDA and now is disputing its own FDA submissions—that is not true.

 Second, Amgen argues that Hospira’s closing argument somehow raised a new claim

 construction argument simply because Hospira put the words of the claims on a slide—that is

 nonsensical. Third, Amgen argues that Dr. Hamilton failed to rebut Amgen’s infringement

 evidence. To the contrary, Dr. Hamilton presented numerous, unrebutted opinions that the jury

 could credit to find noninfringement. Amgen’s arguments are incorrect as discussed below.

                1.     Hospira Did Not Admit That Its Cells Were Capable Of Producing
                       EPO At The Claimed Production Rates

        Hospira’s BLA contained rough information that some of the vertebrate cells tested could

 produce 100 µg of EPO per mL of cell-culture medium. (PTX-293-0028.) This is at most what

 Hospira “admitted” at trial. However, Hospira did not admit that its cells were capable of

 producing EPO at rates “in excess of 100 [or 500, or 1000] U” of EPO “as determined by

 radioimmunoassay.” Hospira’s alleged admissions do not support Amgen’s infringement

 contentions. Contrary to Amgen’s argument, converting from mass units to biological activity

 units as measured in the claims is not like converting currency because these units are not

 standardized like money. Even if a daily production rate as measured in mass units could be

 converted into biological activity units, the conversion must be done using the appropriate

 sample and a validated standard. As Dr. Hamilton testified, the units (“U”) in the ’349 patent are



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 biological activity units (Trial Tr. 1187:6-10), and this testimony was never rebutted. Dr.

 McLawhon ignores this fact and just converts from mass to U without acknowledging the

 difference. (Id., 525:1-526:11; 1187:2-5.) As Dr. Hamilton testified, the only way µg/mL could

 possibly be converted into U was if the EPO was “purified out.” (Id., 1213:24-1214:3.) That

 was not done here, as Dr. McLawhon admitted during his testimony. (Id., 544:24-545:2.)

        Dr. Hamilton did not testify that the “admissions” in Hospira’s FDA submission were

 wrong. He explained that the dot blot was done as a rough measure of the amount of EPO. (Id.,

 1193:18-1194:8). The purpose was just to see which cell lines were producing EPO. (Id.,

 1212:14-24) However, for the reasons Dr. Hamilton explained, the results of Hospira’s dot blot

 assay are not reliable for measuring “U” as required by the claims, and do not accurately assess

 the level of biologically active EPO in the sample:

                So the standard was different, the antibodies were different, the
                assay design was different, the relative degree of quantitation was
                different, and based on all of those variables, one can’t accurately
                assess the level of EPO in a culture supernatant cell preparation,
                which is really what the claims 1 through 6 in the patent are
                requiring.

 (Trial Tr. 1198:5-12.)

        First, a sample taken directly from the supernatant, as done in the dot blot assay, will

 likely contain biologically inactive impurities and EPO fragments that indiscriminately bind to

 the antibody, and thus will not be an appropriate sample to use in the conversion calculation. (Id.

 1196:10-20.) In fact, it is undisputed that the sample tested in the dot blot in Hospira’s BLA,

 which has not been subjected to Hospira’s extensive purification process, is not the same EPO

 that will be sold under Hospira’s BLA. (Id., 1225:3-18.) Second, the use of a purified standard

 to quantify the amount of EPO in the crude sample is not appropriate. (Id., 1197:8-13.) Lastly,

 in his calculations, Dr. McLawhon used the standard that was used in Hospira’s BLA. (Id.,



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 525:1-526:8; 528:16-21.) As the transcript reflects, Dr. McLawhon never discussed the details

 of the two assays to show that they were similar or even comparable. (Id., 525:1-536:11.) His

 focus was solely on converting the mass units from the Hospira’s dot blot into U “units to be

 comparable to the ’349” patent. (Id., 532:17-533:8.) However, as previously mentioned, Dr.

 Egrie, the Amgen scientist who performed the RIA testing for the ’349 patent, testified that, for

 an accurate comparison between two different assays, the same standard should be used. (Id.,

 1163:5-24.) Dr. Hamilton testified that the standards used in the ’349 patent and in Hospira’s

 BLA were not the same. (Id., 1197:24-1198:4.) Thus, this comparison is inaccurate.

        Dr. Hamilton effectively explained why Amgen’s calculations failed to prove that

 Hospira’s cells were capable of producing EPO “in excess of 100 [or 500, or 1000] U” of EPO

 “as determined by radioimmunoassay.” It was Amgen’s burden to prove infringement. Dr.

 Hamilton was not required to calculate a production rate himself to prove that Hospira’s cells

 were not capable of producing EPO at the claimed rates. Indeed, the whole point of Dr.

 Hamilton’s testimony is that such a calculation could not be done with the available information.

 The jury was entitled to credit Dr. Hamilton’s testimony to find noninfringement.

                2.      Hospira Never Argued That The Claims Exclude Using An Assay
                        Other Than RIA, But Argued That Amgen’s Evidence Was Deficient

        Amgen argues in its JMOL motion that RIA results are not necessary to show that

 Hospira’s cells literally infringe the claims of the ’349 patent. Amgen’s argument is based on

 the ruling in a prior case, Amgen Inc. v. F. Hoffmann-La Roche Ltd., 580 F.3d 1340, 1385 (Fed.

 Cir. 2009). In Roche, Amgen asserted infringement based on RIA, a different “ELISA” test, and

 under the doctrine of equivalents (“DOE”). Amgen could have tried to establish that RIA and

 dot blot are substantially similar based on their function, way, and result had it asserted

 infringement under the DOE. However, Amgen only asserted literal infringement, and thus



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 Amgen took on the burden of showing that the dot blot and the RIA were comparable or yield

 “very similar, if not identical” results. Id.

         The flaw in Amgen’s JMOL argument is that neither Hospira nor Dr. Hamilton ever

 argued at trial that Amgen was legally precluded from establishing infringement through dot

 blot. Rather, each pointed out that the dot blot data was inadequate. That is a perfectly fair

 argument for Hospira to make, and is entirely consistent with the Roche case and other case law

 on point. The Roche case just said that the issue of infringement could go to the jury. Id. at

 1386. That is what happened here—Amgen took its case to the jury, and the jury disagreed.

         Hospira’s arguments are consistent with other case law on testing as well. When

 determining if a patent claim is literally infringed, “the scientific theories utilized must establish

 the presence of the limitations recited in the claim.” Zenith Labs., Inc. v. Bristol-Myers Squibb

 Co., 19 F.3d 1418, 1423 (Fed. Cir. 1994). Similarly, the Federal Circuit upheld non-

 infringement where a patentee claimed specific “characteristics that would later control the

 nature of the evidence necessary to prove infringement,” but “failed to show that every limitation

 of the claims it chose to prosecute was present in [the] allegedly infringing composition.” Glaxo,

 Inc. v. Novopharm, Ltd., 110 F.3d 1562, 1566 (Fed. Cir. 1997). Like the patentees in Zenith and

 Glaxo, Amgen drafted its claims to require particular evidence of infringement—that the cells

 were capable of producing a certain number of U as determined by RIA—and therefore, to prove

 infringement, it must provide reliable evidence to meet that limitation. Amgen did not.

         Amgen points out that the jury was instructed that it could rely on circumstantial

 evidence and that the law does not favor direct evidence over circumstantial evidence. (Trial Tr.

 111:13-112:13, 1536:24-1537:23.) But just because circumstantial evidence is allowed, does not

 mean the jury has to credit it. Here, Amgen never introduced sufficient evidence to prove literal




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 infringement based on the dot blot assay results. Dr. Wall never performed any RIAs or any

 other tests on Hospira’s cells. (Id., 283:5 -7; 284:5-18.) In fact, Dr. Wall testified that he does

 not know how to run any EPO RIAs at all, and thus Amgen did not ask him to run an EPO RIA.

 (Id., 287:24-288:4.) His infringement opinion relied solely on the calculations performed by Dr.

 McLawhon. (Id., 276:15-23.) In turn, Dr. McLawhon also admitted that he never performed any

 tests on Hospira’s cells and that instead he performed calculations using the data reported in

 Hospira’s BLA. (Id., 523:9-16.) Via testimony from Dr. Hamilton, Hospira showed that Dr.

 McLawhon improperly converted the dot blot results into biological activity units and thus this

 circumstantial evidence was insufficient to prove literal infringement. Thus, the jury’s verdict of

 noninfringement of the ’349 patent was reasonable and supported by the evidence.

                3.      Dr. Hamilton Soundly Rebutted Amgen’s Infringement Evidence

                        a.      Dr. Hamilton Did Offer An Opinion On Infringement—Which
                                Was That Amgen’s Evidence Was Deficient

        Amgen maintains that Dr. Hamilton failed to rebut its literal infringement evidence of the

 ’349 patent because he offered: (1) no opinion on whether Hospira’s cells infringed the ’349

 patent; (2) no evidence on Hospira’s cells’ rate of production; and (3) no evidence that the cells

 were incapable of producing EPO at the claimed rates. In Amgen’s view, Dr. Hamilton “offered

 no opinion on infringement” because he did not make these points.

        Amgen’s argument misstates Dr. Hamilton’s testimony. Dr. Hamilton did offer a lengthy

 and detailed opinion on the subject of infringement—which was that Amgen’s evidence did not

 pass muster. Dr. Hamilton was not required to offer the kind of affirmative evidence that Amgen

 suggests. Amgen has the burden of proof to show that Hospira’s cells are capable of producing

 EPO at the rates recited in the claims of ’349 patent. Amgen did not meet that burden. As Dr.

 Hamilton pointed out, Amgen offered no evidence of RIA results to show that Hospira’s cells



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 were capable of the production rates recited in the claims of the ’349 patent as determined by

 RIA. (Trial Tr. 1190:13-1191:4.) Next, Dr. Hamilton testified that the dot blot assay and the

 RIA are not similar for several reasons as previously described. (Id., 1196:2-1198:12.) Hospira

 did not have to “prove” noninfringement, especially when Amgen’s proof was so deficient.

                        b.      Dr. Hamilton’s Critiques Of The Dot Blot Assay Support The
                                Jury Verdict

        Amgen’s next argument is that Dr. Hamilton “attacked” the dot blot assay Hospira

 included in its BLA. That is wrong. Dr. Hamilton did not criticize Hospira’s use of the dot blot

 assay to look for the presence or absence of EPO; he merely pointed out that it is only a semi-

 quantitative assay and is a very inaccurate and insensitive assay for measuring the exact quantity

 of EPO. (Trial Tr. 1193:1-1194:8.) Dr. Hamilton pointed out the flaws of Amgen’s attempt to

 convert mass units from the dot blot into biological activity units as measured by RIA. First, Dr.

 Hamilton repeatedly stated that the dot blot is not a radioimmunoassay but rather a qualitative

 assay and less accurate than the RIA. (Id., 1193:18-24.) Next, he pointed out the reasons why it

 was not proper to convert the dot blot results from mass units to biological activity units: (1) the

 dot blot assay used an unpurified sample whereas the standard used was a purified sample of

 EPO; (2) the dot blot assay and the RIA in the ’349 patent did not use the same standard; and (3)

 the dot blot and the RIA in the ’349 patent did not use the same antibody. (Id., 1197:8-1198:12.)

        Amgen alleges that Dr. Hamilton failed to tie these deficiencies to the claims of the ’349

 patent because the claims do not specify the standard or antibody used by Dr. Lin when he tested

 the production rates, and they do not specify the purity, or lack thereof, of the sample being

 tested. However, as Dr. Hamilton pointed out, different standards will produce different results,

 and so in order to make an accurate comparison, the same standard should be used. (Id., 1197:8-




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 1198:4.) Indeed, as previously mentioned, Dr. Egrie testified that to achieve a meaningful

 comparison, the same standard should be used. (Id., 1163:5-24.)

        Amgen attempted to discredit Dr. Hamilton’s argument regarding the purity of the dot

 blot sample by pointing out that Dr. Lin, in the ’349 patent, did not purify the EPO sample before

 running an RIA. However, Dr. Hamilton responded that Dr. Lin ran a radioimmunoassay, not a

 dot blot, and thus Dr. Lin was not trying to compare pure to impure samples across two different

 assays as Amgen is doing here. (Id., 1216:24-1217:21.) As the transcript reflects, Dr. Hamilton

 testified that Dr. Lin did not commit a fatal flaw in running a radioimmunoassay on an impure

 sample (although it was not ideal). (Id., 1217:22-1218:3.) In its opening brief, Amgen argued

 that Dr. Hamilton testified that Dr. McLawhon did not commit a fatal flaw when he used an

 unpurified sample from the dot blot assay to perform his calculations, which is clearly incorrect.

 (D.I. 358, Amgen Op. Brief at 13.) More importantly, Dr. Hamilton testified that the ’349 patent

 examples use a standard curve. (Trial Tr. 1226:3-23.) This was not surprising, as Dr. Lin’s lab

 did a lot of work on EPO and compared their results to a standard curve; but that curve was not

 compared to Hospira’s sample in this case. (Id., 1227:21-1228:10.) This lack of comparability

 is yet another reason that the dot blot from Hospira’s BLA does not prove infringement.

        Amgen also attempts to discredit Dr. Hamilton’s testimony regarding the use of different

 antibodies. Amgen criticizes Dr. Hamilton for not quantifying the effect different antibodies can

 have on the results of the assay. First of all, Dr. Hamilton and Hospira do not have the burden of

 calculating the effect of using different antibodies. Second, Dr. Hamilton points out that the

 antibody is only one of the variables between the two assays. Lastly, he reiterates that only

 validated assays can be compared. That is in agreement with the published literature. (Id.,

 1218:4-1218:21.) Even Dr. McLawhon agrees that the same antibodies should be used if a




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 comparison is made. (Id., 543:24-545:9.) A reasonable jury could have credited Dr. Hamilton’s

 testimony to find noninfringement at trial. Thus, Amgen’s motion should be denied.

 IV.     AMGEN IS NOT ENTITLED TO A NEW TRIAL BECAUSE THE VERDICT IS
         SUPPORTED BY THE EVIDENCE AND HOSPIRA DID NOT MAKE LEGALLY
         INCORRECT ARGUMENTS

         A.      The Jury’s Verdict Of Noninfringement Is Supported By The Evidence

         The jury’s verdict of noninfringement of the ’349 patent is well supported by the

 evidence presented at trial. Dr. McLawhon, who had performed thousands of EPO RIAs in the

 past, did not perform an RIA or a dot blot assay to show that Hospira’s cells met the limitations

 of the ’349 patent claims. (Trial Tr. 519:20-24; 537:9-11.) Instead, he relied on the dot blot

 results in Hospira’s BLA. (Id., 537:12-19.) He improperly converted the dot blot assay results

 into biological activity units without testifying as to why the dot blot assay and the RIA are

 similar or comparable. Dr. Wall, Amgen’s other expert in this area, presented no evidence that

 he performed any assays, whether RIA or dot blot, to show that the ’349 patent claims were

 infringed. (Id., 287:20-288:19.) His infringement opinion regarding Hospira’s cells’ production

 rates relied solely on the purported calculations performed by Dr. McLawhon. (Id., 276:15-23.)

 He also did not testify how the two assays are similar or comparable. (Id., 275:19-276:14.)

         In contrast, Dr. Hamilton presented several reasons why the two tests are not comparable

 and pointed out the deficiencies in Amgen’s calculations: (1) the dot blot assay used an

 unpurified sample whereas the standard used in Amgen’s calculations was a purified sample of

 EPO; (2) the dot blot assay and the RIA in the ’349 patent did not use the same standard; and (3)

 the dot blot and the RIA in the ’349 patent did not use the same antibody. (Id., 1197:18-

 1198:12.) As such, Hospira successfully rebutted Amgen’s evidence of literal infringement of

 the ’349 patent. Thus, the jury’s verdict is supported by the evidence presented at trial and a new

 trial is not warranted.


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        B.      Hospira Did Not Argue At Trial That Dot Blot Could Never Be Used To
                Prove Infringement

        Amgen argues that Hospira made an improper argument to the jury when it depicted the

 RIA “within the fence” of the ’349 patent claims and the dot blot assay “outside the fence” of the

 ’349 patent. (Id., 1641:11-1642:6.) Amgen maintains that Hospira asked the jury to construe the

 claims, which is a legal issue determined by the courts. But Hospira did not ask the jury to make

 a claim construction decision. Hospira merely pointed out, correctly, that “as determined by

 radioimmunoassay” is literally recited in the claims; those are the words selected by Amgen’s

 lawyers to describe the invention. (Id., 1639:8-1640:4.) As Hospira’s counsel pointed out, Dr.

 Hamilton testified that the dot blot was not good enough, for a variety of reasons. (Id., 1641:22-

 1643:24.) The jury was entitled to credit Dr. Hamilton’s testimony.

        Hospira’s counsel never said that dot blot could not be used or that circumstantial

 evidence was not allowed. In fact, the jury received instructions both at the beginning and at the

 end of the trial that in the absence of direct evidence, circumstantial evidence should be

 considered. (Id., 111:11-112:13; 1536:24-1537:23.) Amgen attempts to rely on the Roche case,

 where the Federal Circuit allegedly held that Amgen may prove literal infringement without RIA

 evidence (although Amgen had asserted DOE as well). Amgen Inc. v. F. Hoffmann-La Roche

 Ltd., 580 F.3d 1340, 1385 (Fed. Cir. 2009). The Roche case does not provide any support for

 having a new trial because it merely held that Amgen could present its evidence to a jury—it did

 not say the jury had to rule in Amgen’s favor. The jury heard the circumstantial evidence

 presented by Amgen here, i.e., the dot blot results, and found no literal infringement.

 V.             CONCLUSION

        For the foregoing reasons, Hospira respectfully requests that the Court deny Amgen’s

 motions for JMOL under Fed. R. Civ. P. 50(b) and for a new trial under Fed. R. Civ. P. 59.



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